Case

HARRELL. & HARRELL
A\’TOF|NEYS AT LA\N
llc NW COURT SOUARE
TRENTDN. TENNESS€E
35382

 

 

.._.. \_,v~_, -¢_\g +¢- ru/

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IN THE UNITED sTATES DISTRICT COUB§ AUB 25 A\“\ |l= 33
FOR THE WEsTERN DISTRICT oF TENNESSBE

 

WESTERN DIVISION weis it EOLRD
asst us o mm ODIH

W!D OF YN.
UNITED sTATEs oF AMERiCA )
§

VS. ) Case No. 2203cr20405-M1
)
)
DANA LILLY )

 

ORDER

 

This cause came on to be heard upon the motion of the defendant, Dana Lilly, to modify
the fenner order heretofore entered in this Honorab]e Court directing that he report to begin
serving his sentence on August 31, 2005.

It iier1er appeared to the Court that L. L. Harrell, Jr., attorney for the defendant Dana
Lilly, has consulted with the Honorable Joe Murphy, Assistant United States Artomey, who has
stated that he does not object to said motion delaying the report date of the defendant Dana

Lilly.

Ti'1is declarant entered on the docket sheet in compliance n ;
with time ;.";~` ;m=:i/or 32(b) FRCrP on d ’

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Case

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It is, therefore, ORDERED, ADJUDGED AND DECREED by the Court that the order
heretofore entered in this cause, directing the defendant, Dana Lilly, to report to begin serving
his sentence on August 31, 2005, is hereby set aside and held for naught.

It is idrther ORDERED that another report date shall be set to require the defendant,
Dana Lilly, to report after Ma.rch 1, 2006.

All of Which is SO ORDERED, ADIUDGED AND DECREED by the Court on the

 

 

.?L| day of QW\..;T , 2005.
geo vt wit
ONOR_ABLE ION PHIPPS McCALLA
Un' States District Judge
estem District of Tennessee
Approved for entry:
HARRELL & HARRELL

 

 

 

L" L_. HARRELL, JR.- #7517
tto` ey for Defendant, Dana Lilly
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Trenton, Tennessee 383 82
(731) 855-1351

 

 

 

ISTRIC COURT - WETERN D's'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 62 in
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L. Lee Harrell

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Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable Jon McCalla
US DISTRICT COURT

